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              IN THE UNITED STATES DISTRICT COURT FOR
                 THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


DONNA CURLING, et al.,
Plaintiffs,
                                                CIVIL ACTION FILE NO.:
v.                                              1:17-cv-2989-AT

BRAD RAFFENSPERGER, et al.,
Defendants.

                    DECLARATION OF JEANNE DUFORT

      JEANNE DUFORT hereby declares, under penalty of perjury, pursuant to

28 U.S.C. §1746, that the following is true and correct:

      1.      My name is Jeanne Dufort.

      2.      This declaration supplements my declarations of September 10, 2018,

June 17, 2019, December 16, 2019, January 14, 2020, March 4, 2020, August 30,

2020, and February 12, 2021. In addition, I gave live testimony in this case during

the September 10, 2020 hearing on Plaintiffs’ Motions for Preliminary Injunction.

      3.      I have personal knowledge of all facts stated in this declaration, and if

called to testify, I could and would testify competently thereto.

      4.      I am a Morgan County, Georgia voter, and have voted in Morgan

County for 19 years.
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      5.     I am a very active member of Coalition for Good Governance

(“CGG”) and coordinate activities with other active members every week as we

work on our volunteer projects.

      6.     My long-time practice is to vote in every election for which I am

eligible, and I plan to vote in the future in all such elections.

      7.     As long as the BMD system is required for all in-person voters, my

preferred method of voting will remain Absentee by Mail, because marking a

ballot by hand ensures there is a permanent record of my intent that will count as

the official vote and can be recounted or audited. Mail ballots are also preferable to

the BMD system as mail balloting protects the secrecy of my vote.

      Conversion of hand marked ballots to machine marked ballots

      8.     I have served on the Morgan County Vote Review Panel and Ballot

Duplication Panel for most elections since 2018. One duty of the three-person bi-

partisan Ballot Duplication Panel is to oversee the duplication of ballots that

cannot be scanned. Certain ballots need to be duplicated onto a new scannable

ballot for several reasons:

      a. Some UOCAVA voters submit their ballots in a form that cannot be read

      by the scanner;



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      b. Absentee by Mail ballots may be damaged by handling at the election

      office, for example when an envelope slitter tears the ballot;

      c. Some ballots arrive damaged, for example a coffee spill or tear, or USPS

      damage;

      d. Ballots from Election Day provisional voters who voted out of their

      correct precinct must be converted to the correct ballot style; or

      e. Occasionally the scanner will not accept a ballot, even though there is no

      discernible damage. At least 3 ballots in the 2022 General Election were in

      this category, including two from my precinct.

      9.     Prior to 2022, it was the practice of the Morgan County Election

Director to have the Ballot Duplication Panel duplicate ballots with the same type

of ballot as the voter originally used. With Mail Absentee ballots, the three-person

bi-partisan Duplication Panel would rotate roles: one marking the new ballot by

hand, one calling out the selections, and one watching. All three were required to

agree the original ballot matched the duplicate ballot, for voter selection.

      10.    An audit trail is created by assigning and writing a number on each

pair of original and duplicated ballots. This audit trail ensures the fidelity of the

duplicated ballot to the voter’s original record of his vote if it is required to be

reviewed.

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      11.    In 2022, the Morgan County Election Director changed the practice.

She now converts hand marked Mail Ballots that require duplication to machine

marked BMD ballots. Then she requires us as members of the Ballot Duplication

Panel to review the machine marked BMD ballots to verify that the printed text

matches the voter choices marked by hand on the original Ballot.

      12.    When I questioned the practice of converting hand marked ballots to

QR coded ballots, the election director told me that the state has authorized the

practice and it was her decision to do so. Exhibit A is a true and correct copy of the

Secretary of State's instructions for the electronic duplication of certain ballots, and

was obtained by CGG in response to an open records request to Cobb County.

      13.    I am dismayed to learn that, despite my intent to cast my votes on a

hand marked paper ballot, my ballot could be converted to a machine marked

BMD ballot prior to scanning and tabulation without my knowledge or consent.

That subjects my vote selections to unauthorized and undetectable changes that can

be caused by mis-programming or system hacking. Having the Ballot Duplication

Panel merely review the accuracy of the new ballot’s printed text does little to

ensure that selections in the QR code that will be counted reflects the selections

that I made on my hand marked mail ballot.

      Ballot Secrecy

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      14.      In my declarations on December 16, 2019 (Doc. 680-1 at 170),

January 14, 2020 (Doc. 699-7), and February 12, 2021 (Doc. 1071-3), I stated my

observations of local Election Directors struggling to preserve ballot secrecy while

deploying the new oversized Ballot Marking Device touchscreens, conversations at

local Election Board meetings about ballot secrecy, and my personal concerns with

casting my vote without reasonable ballot secrecy.

      15.      For several years, I have been the 1st Vice Chair of the Morgan

County Democrats, and coordinator of our Get out the Vote efforts.

      16.      It is the policy of the Democratic Party of Georgia that party officials

and local Committees stay neutral about their personal candidate preferences in

primary races until Primaries are finalized. If I vote in view of the public on a large

touchscreen in a small county like Morgan it is effectively disclosing my candidate

preferences.

      17.      I am careful during Primary season to keep my candidate preferences

private, both because Party rule require it, and because I could not be effective in

my work as a local Party leader otherwise.

      18.      In the past, if I had needed to vote in person, my solution to the ballot

secrecy violations of BMD voting would have been to find an uncrowded time at

the polling place and choose the most privately situated BMD unit. However, I

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have recently become aware of Dr. Halderman’s findings, called DVS Order and

published at this link (https://dvsorder.org), which show how Dominion Precinct

Scanners assign predictable numbers to the ballot data, permitting voters to be

connected with their ballots in some circumstances.

      19.    Through Dr. Halderman’s work I am aware that the Cast Vote

Records created when a ballot is scanned includes a predicably sequenced ID

number that, when compared to other public information such as scanner voter

counts, polling place video, the daily early voting ballot issuance list, or notes

taken while observing voters, makes it possible to match a ballot image with a

voter. This is especially true in small counties like mine, where polling places are

small, voting is steady but not intense, and many of us know one another by sight.

      20.    CGG obtained in response to an Open Records Act request a copy of

the Cast Vote Records for the Morgan County November 2022 election. Attached

as Exhibit B is a true and correct copy of a screen shot of one page of those records

to demonstrate that it includes the Record ID number, the precinct, and the votes

cast on each ballot. It is my understanding that I need only “un-shuffle” the record

ID numbers using Dr. Halderman’s formula to have the exact order in which the

ballots were cast in the scanner.



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      21.    Voting in person, using the Georgia’s current voting system, creates

an unacceptable risk to me of revealing my candidate choices, which need to be

private, for both my personal reasons, and to comply with the spirit of the

Democratic Party rules in Morgan County and the state.

      22.    I am very involved in the business, cultural and political communities

in Morgan County. I am well known in all of those communities in my county and

try to be a leader, setting examples of active engagement in such community

activities. As a result, I would much prefer to vote in person, preferably at a busy

time to be seen engaging in the voting experience and enjoy doing so with my

community colleagues. I would like to visit with the poll workers to thank them

for their service. However, I reluctantly forgo that benefit in order to protect my

ballot security and secrecy with a mail ballot, despite the inconveniences in doing

so.

      23.    From my poll watching activities, I understand that voting in person

builds social capital in a small community like mine. Participating in the ritual of

voting with your neighbors is part of the fabric of small-town life. Our local

Election Director helps create public awareness of elections with creative use of

social media, including posting photos of various people voting on the Election

Office Facebook and Twitter accounts. Georgia Secretary of State Brad

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Raffensperger personally presented Morgan County Director of Elections Jennifer

Doran an award for having the state’s “Best Social Media” presence on Jan. 4

during the 2023 Secretary of State Training Conference on Elections Systems in

Athens. I miss this opportunity to be recognized within my community as a voter,

because my vote is cast by Mail Absentee.

       Touchscreen Ballot Secrecy Observations

       24.    Based on my personal observations, county election officials do not,

and in many instances cannot, follow the Secretary’s guidelines of setting up

polling places to prevent the violation of ballot secrecy.

       25.    For example, for the November 2020 in Precinct 6 – West Morgan

(Morgan County), the Voting Stations were setup facing walls, in accordance with

the State’s suggested layout. I observed the election and watched as voters enroute

to their voting station had to pass behind other voters in the act of voting, and that

merely looking around to navigate the aisle safely would cause voting screens to be

in their line of sight.

       26.    Another example is in 2022, when I served as a credentialed Poll

Watcher in Morgan County both during early voting at the Election Office, and at

the 5 precincts on Election Day. While Poll Watching at Precinct 4-

DFACS/Health Dept during the Senate Run-off on December 6, I was seated with

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other poll watchers in the designated chairs, near the tables with the Poll Pad

check-in stations. The designated Voting Station for voters with disabilities was set

up facing the three poll watcher chairs, in view of at least one of the Poll Pad

stations. A voter came in to use the Station, and the Poll Watchers, including me,

immediately realized we could view the screen clearly. The Poll Manager observed

the problem, and shortly after the voter left, she turned the Voting Station 90

degrees counter clockwise (the only option available). She immediately realized

that the change caused the screen to be viewable by voters arriving to check in and

by the worker stationed at the scanner. She changed it back to the original setup,

and asked the Poll Watchers to avert our eyes when the Station was in use.

Averting our eyes to avoid seeing the touchscreen would also cause us to suspend

our duties to view the room and other activities, such as monitoring machines for

tampering.

      27.    During the same December 6, 2022 election, I observed the early

voting location in Morgan County where the voting stations were set up in two

rows ending in a wall, so that voters at each station would have their backs to each

other while voting. Voters enroute to and from their voting station had to pass

behind other voters in the act of voting, putting voting screens directly in their line

of sight as they navigated the aisle.

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      Increased Difficulties of Voting by Mail

      28.    I regularly use a Mail Absentee ballot, because that is the only way to

mark my ballot by hand. There are a number of additional difficulties involved in

mail ballot voting compared to marking a ballot by hand during early in-person

voting or on election day.

      29.    For example, I am over 65, and eligible to register at the beginning of

each Election cycle to have my mail ballot automatically issued for every election

in which I am eligible to vote. During the December 2022 run-off, the first ballot

the Election Office sent was issued on November 18 according to the SOS website,

but never arrived at my home. I had to go to the elections office and request a

replacement ballot. While I was Poll Watching on Wednesday, November 30, the

election clerk reissued my ballot. Rules required her to send the ballot to my home

via the Post Office, so I had to watch her walk past me, with my ballot in her hand.

Luckily the reissued ballot was delivered to my home the next day, and I was able

to return it to the Election office on Friday, December 2 – the last day the drop box

was open. The loss of my original ballot in the mail, the trouble of reapplying for a

ballot, and the uncertainty of Postal Service delivery, are examples of the

additional difficulties that I would not have if I could securely and privately mark

my ballot by hand at my polling place.

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      30.    Changes made in SB202 in 2021 requires me to put my name,

address, date of birth, and driver’s license on the return envelope that would carry

my hand marked mail absentee ballot through the Postal Service if I used USPS to

return my ballot.

      31.    Attached as Exhibit C is a true and correct copy of a photograph I

took of my mail ballot envelope for the May 2022 election. I have purposely

blurred the personally identifying information on the envelope for purposes of this

submission. The design of the envelope allows others handling my ballot to see

my personally identifying information without disturbing the envelope seal. I am

not willing to take that risk, so I make a trip to the election office and returned my

ballot in person.

      32.    After submitting my mail ballot, I check the status daily on the MVP

site to be certain that the ballot is recorded as accepted. This is an effort not

required of voters who vote in person.

      Verifying a BMD Ballot

      33.    Attached as Exhibit D is a true and correct copy of my ballot in the

May 2022 primary. The ballot included 30 contests or questions. In such an

election, if I were to use a BMD to vote, and was required to verify my printout, I



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would be unable to remember all 30 contests and questions without using a sample

ballot with my choices pre-marked.

      34.    I have been a Poll Watcher in Morgan County or other counties for

virtually every election since the new BMD system was introduced. There is no

place provided in most polling places I have observed for a voter to privately and

carefully review their printed ballot. I have rarely seen a voter use a pre-marked

sample ballot or list of vote selections to compare to their BMD ballot, and I have

rarely seen a voter look at their BMD ballot for more than 10 seconds.

PollPad Risks of Voting Difficulty and Disenfranchisement

      35.    Another reason I tolerate the expense, time and extra effort of mail

ballot voting is to avoid the risk of PollPad errors that we at CGG often hear about

from voters. In various public talks I have made, I have used the example of State

Representative Jasmine Clark’s experience when she encountered inaccurate

electronic pollbook data, and had to stand her ground to avoid being

disenfranchised by having to vote the wrong provisional ballot, or failing to vote

altogether. Representative Clark’s experience is summarized in her declaration

(Doc. 296 at 173-175) and in her testimony in court. (Doc. 570 Transcript 175:22-

179:11)



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      36.    I am unwilling to take the risk of disenfranchisement from pollbook

inaccuracies from cyberattacks or configuration errors or software bugs, which

adds to my reasons for voting by mail ballot with all its inconveniences.

      No Scanner Setting Improvement

      37.    I testified at the Sept 10, 2020 date Court hearing and explained my

discovery, while serving on the Morgan County Vote Review Panel, of light vote

marks not being detected and counted by the scanner/tabulators as I explained in

my August 23, 2020 declaration (Doc. 809-6 at 6 ¶¶14-23). The discovery had

been made during the June 9, 2020 election.

      38.    At the August 10, 2020 SEB meeting, a new rule was adopted to

modify the scanner “threshold settings,” to increase the number of lightly marked

votes detected and counted.

      39.    I served on the Vote Review Panel again for the November 3, 2020

election, and was surprised to see the very first ballot image we were asked to

adjudicate included marks not detected at all by the scanner. It was clear to me that

the State’s modified threshold setting did not ensure that all legal marks would be

counted.

      40.    Attached as Exhibit E is a true and correct copy of a ballot image from

the November 2020 election. CGG obtained the ballot image in response to Open

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Records Request. This ballot was flagged for adjudication because of the non-

qualified write-in for Sheriff (page 2).

      41.    The vote for Mr. McDonald for Public Service Commissioner was not

detected by the scanner as a vote to be automatically counted, or flagged for

adjudication, as shown on page 2-

      “Public Service Commission District 4 blank vote”

Because I was aware of past problems, I insisted we check the Cast Vote Record

and the decision was unanimous that voter intent was clear. The vote was counted

by our adjudication action as shown by the interpreted mark texts on page 3 of the

exhibit.

      42.    Since the Vote Review Panel only reviews ballots flagged by the

system using the current settings, a vote like the one for Public Safety

Commissioner would remain uncounted on a ballot with no other contest flagged.

Because of my experience with uncounted votes resulting from these scanner

settings, I ensure that our Vote Review Panel makes the affirmative effort to

review the entire ballot for uncounted votes once a ballot is flagged for any reason.

This is not part of the SOS instructions but something that we voluntarily do to try

to ensure that votes are fully counted on the ballots that are flagged for our review.



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      43.    I am not aware of any further change to the threshold settings, or

changes to instruction to the county election officials since the August, 2020

change described above.

Interpreting Voter Intent

      44.    While serving on the Vote Review Panel for Morgan County, I have

observed that some voters make corrections on their mail absentee ballots, which

our panel often adjudicates. CGG obtained Morgan County ballot images in

response to Open Records Request. Exhibit F is a set of three such ballot images

from the November 2020 general election.



      45.    In the first example, the voter filled in the oval for both David Perdue

and John Ossoff for US Senate, but added XX marks and “spoiled” to the Perdue

vote. The tabulation system initially discarded both votes, as overvotes. The VRP

decided that voter intent was clear, and removed the mark for Perdue, confirming

the vote for Ossoff.

      46.    In the second example, the voter put check marks for both Donald

Trump and Joseph Biden for President, but added “error” and initials next to the

Trump check mark, and filled in the oval for Biden. The tabulation system initially



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discarded both votes, as overvotes. The VRP decided that voter intent was clear,

and removed the mark for Trump, confirming the vote for Biden.

      47.    In the third example, the voter made two types of irregular marks:

consistently both filling in the oval for their preferred candidate and writing the

same name into the write-in field and filling in the oval next to the hand written

name. The voter also corrected their vote for Proposed Constitutional Amendment

2 – ovals next to both yes and no are filled in, but the voter crossed out no, and

added “yes. Changed my mind, this is yes”. The tabulation system initially

discarded all votes, as overvotes. The VRP decided that voter intent was clear in

both cases, removing the write-in votes and confirming the chosen candidates, and

removed the marks for “no” on the Constitutional Amendment, confirming the

vote for “yes.”

      48.    What I have described above is consistent with instructions given to

the Vote Review Panel members, that the standard to be applied is straightforward:

if voter intent is clear, the vote shall be counted.

      49.    In the years I have been serving on the bi-partisan Vote Review Panel

in Morgan County, there has not been a vote that the panel could not agree on the

voter intent, nearly always unanimously. In my experience, voter intent on hand



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marked paper ballots is almost always clear. Voters’ attempts to make corrections

are generally easy to interpret as well.

      50.    When I see these normal human errors on absentee ballots, I often

wonder how many touchscreen errors are made by in-person voters which the voter

does not catch or correct, and the ultimate machine marked vote, although clear

and unambiguous, is not the voter’s intent at all.

      Diversion of CGG Resources

      51.    As I mentioned in my February 12, 2021 declaration (Doc. 1071-3 ¶¶

5-8), I am a very active volunteer with CGG, devoting approximately 80 hours per

month to the organization’s election and open government related activities.

      52.    The time spent on this litigation and other work challenging the BMD

system greatly limits my ability to perform other work for CGG. For example, I

was previously very active in CGG’s efforts to draft, present and propose election

administration rules for formal SEB rule-making on a variety of topics. However,

because of the litigation demands, our rule making proposal efforts have greatly

diminished in 2022 and 2023.

      53.    Examples of non-litigation related work I have done in 2022, and

hope in the future to be able to do more of, include:



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      a.     Vote Accuracy Project. CGG partnered with Scrutineers, a national

non-partisan online community working for fair, secure, accessible, and

transparent elections in the US, through advocacy and public oversight. Attached

as Exhibit G is a true and correct copy of the press release concerning the project.

My fellow CGG members and I working with Scrutineers, while dedicating dozens

of hours to the project, were unable to devote all the time required to help organize

and analyze the initial tests, causing the rollout to be more limited than desired.

The second pilot took place on January 31, 2023 in special elections, and because

of the Curling case litigation demands the CGG team was even less able to give all

the time that Scrutineers has asked for to help organize that pilot.

      b.     Greene County proposal to remake Election Board. I advised local

citizens, including a current Board of Elections member, about Greene County

Commissioners’ proposal to change how BOER members were appointed. Other

CGG members helped support this effort. Although we would like to extend this

effort to other counties, this litigation consumes almost all resources.

      c.     SMART Elections national online forum. I represented CGG on an

online gathering of Election Integrity experts from across the country, but have to

decline many invitations from them and other groups to speak about CGG’s

Georgia work because of the requirements of our challenge to the voting system.

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Screen Print of a portion of the Cast Vote Record CVR from Morgan County, November 2022 Election
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Return envelope for Mail Absentee Ballot, May 2022 Primary
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Completed voter oath and voter identification
Jeanne Dufort Mail Absentee Ballot, May 2022 Primary
Personal Information blurred
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May 2022 Democratic Primary Ballot

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